       Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 1 of 34



                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,
vs.                                                         No. 17-cr-00965-JB


KIRBY CLEVELAND,

               Defendant.

      MOTION TO PRECLUDE THE DEATH PENALTY AS A PUNISHMENT
        BECAUSE THE DEATH PENALTY, IN AND OF ITSELF, IS AN
                   UNCONSTUTIONAL PUNISHMENT

       Defendant Kirby Cleveland, through his undersigned counsel, respectfully moves

the Court to dismiss and/or strike the Notice of Intention to Seek the Death Penalty filed

in this case [Doc. 39] because administration of the federal death penalty violates the

Fifth and Eighth Amendments to the United States Constitution.              The defense

acknowledges that certain parts of these challenges have been negatively decided by

Supreme Court or Tenth Circuit precedent, 1 but those decisions do not reflect “the

evolving standards of decency that mark the progress of a maturing society.” Trop v.

Dulles, 356 U.S. 86, 101 (1958).




1
  See United States v. McCluskey, No. CR 10-2734 JCH, 2012 WL 13076173 (D.N.M.
Sept. 24, 2012) (rejecting arguments that imposition of the federal death penalty is
arbitrary, capricious, and therefore unconstitutional and collecting cases holding
similarly).
      Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 2 of 34



                                FACTUAL BACKGROUND

       On April 12, 2017, a federal grand jury charged Kirby Cleveland by indictment

with murder of a federal officer, contrary to 18 U.S.C. §§ 1111 and 1114 (Count 1);

felony murder, contrary to 18 U.S.C. § 1111 (Count 2); first-degree murder, contrary to

18 U.S.C. § 1111 (Count 3); escape, contrary to 18 U.S.C. § 751 (Count 4); three counts

of using a firearm during and in relation to a crime of violence, contrary to 18 U.S.C. §

924(c)(1) (Counts 5-7); and felon in possession of a firearm, contrary to 18 U.S.C. §

922(g)(1) (Count 8). [Doc. 20.] All charges (except escape) stem from the shooting death

of Houston Largo, an officer employed by the Navajo Police Department (NPD), on

March 11, 2017.

       The Indictment also contains “Special Findings” relating to Counts 1, 2, 5, and 6.

These special findings include the intent elements set forth in 18 U.S.C. §3591(a)(2) and

allege two statutory aggravating factors: that Mr. Cleveland caused Officer Largo’s death

during commission of or attempted commission of, or during the immediate flight from

the commission of another crime, specifically escape, in violation of 18 U.S.C. § 751. 18

U.S.C. § 3592(c); and that he committed the offense against a law enforcement officer

who was engaged in the performance of his official duties. 18 U.S.C. § 3592(c)(14)(D).

[Doc. 20 at 4-5.]

       On January 26, 2018, the United States filed a Notice of Intention to Seek the

Death Penalty should Mr. Cleveland be convicted of Counts 2 and/or 6 of the Indictment.

[Doc. 39.] The notice includes the statutory aggravating factor that the killing of Officer

Largo was in furtherance of an escape, but not that he was a law enforcement officer

engaged in the performance of his official duties. [Id. at 2.] Instead, the notice alleges




                                            2
         Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 3 of 34



Officer Largo’s status as non-statutory aggravating factor along with victim impact. [Id.

at 3.]

                                       DISCUSSION

A.       More than 25 years of experience with the federal death penalty has
         demonstrated that it operates in an arbitrary, capricious, irrational and
         discriminatory manner.

         Over the past quarter of a century, in hundreds of federal capital trials around the

country, the federal death penalty has revealed itself to be arbitrary, capricious, irrational,

and discriminatory. There is little consistency or predictability in the manner in which

federal juries (and in three cases, a federal judge) have imposed, or not, the federal death

penalty. Hopelessly irremediable problems of arbitrariness and capriciousness mark the

administration of the federal death penalty system. Descriptions of other federal life

sentence verdict cases demonstrate that a death sentence for Kirby Cleveland is more

than arbitrary and capricious. It is unfair to sentence someone who witnesses describe as

paranoid and highly intoxicated at the time of a shooting that took place in utter darkness

to die in prison for a homicide precipitated by a life of struggle when terrorists, vicious

gang members, and mass murderers are not sentenced to death.

         In the final analysis, the federal death penalty is fundamentally incapable of

answering in a rational and predictable way the profound question of who should live and

who should die. This Court should strike it down.

         To summarize what is to follow:

          •      Only a tiny handful of those federal defendants who could face the
                 federal death penalty ever do.

          •      The theoretically national federal death penalty is, in reality, a
                 regional death penalty, heavily pursued in the South and virtually
                 ignored in the rest of the nation.



                                              3
      Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 4 of 34




        •       From its earliest days to the present, the federal death penalty has
                consistently and disproportionately targeted members of minority groups.

        •       Of the cases that proceed to trial, two-thirds of defendants are spared
                the death penalty by juries or judges.

        •       There has been a sharp drop in the number of cases authorized by the
                Attorney General for capital prosecution, a sharp drop in the number of
                capital trials, and an even sharper drop in the numbers of death verdicts
                returned by juries.

        •       Approximately one-third of federal death sentences have been set aside
                on direct appeal or in proceedings brought pursuant to 28 U.S.C. § 2255.

        •       Despite the fact that federal death-row inmates have only one round of
                direct appeal and one round of collateral review, there are federal death
                row inmates who have been there for more than 20 years.

        •       There has been a presidential clemency grant to one federal death
                row inmate because of concerns he was innocent.

        •       In the past 55 years there have been just three federal executions, the most
                recent of which took place more than 15 years ago, a circumstance
                stripping the federal death penalty of any valid penalogical purpose.

       In 1972, the United States Supreme Court, citing the arbitrary and capricious

imposition of capital punishment across the land, struck down all existing death-penalty

schemes as incompatible with the guarantees of the Eighth and Fourteenth Amendments

to the United States Constitution. Furman v. Georgia, 408 U.S. 238 (1972). The

random and capricious imposition of the penalty was best captured in the comparison

drawn in Furman by Justice Stewart between receiving a sentence of death and being

struck by lightning:

       These death sentences are cruel and unusual in the same way that being
       struck by lightning is cruel and unusual. For, of all the people convicted of
       rapes and murders, . . . many just as reprehensible as these, the
       petitioners are among a capriciously selected handful upon whom the
       sentence of death has in fact been imposed. My concurring Brothers
       have demonstrated that, if any basis can be discerned for the selection


                                            4
      Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 5 of 34



       of these few to be sentenced to die, it is the constitutionally
       impermissible basis of race . . . I simply conclude that the Eighth and
       Fourteenth Amendments cannot tolerate the infliction of a sentence of
       death under legal systems that permit this unique penalty to be so
       wantonly and so freakishly imposed.

Furman, 408 U.S. at 309-10 (Opinion of Stewart, J., concurring; citations and footnotes

omitted).

       Members of the Furman Court also found that the death penalty was fraught with

invidious and irrational selectivity, “feeding prejudices against the accused if he is poor

and despised, and lacking political clout, or if he is a member of a suspect or unpopular

minority . . . .” Furman, 408 U.S. at 255 (Douglas, J., concurring). Justice White, who

concurred in the result, highlighted the infrequent utilization of the death penalty:

       That conclusion, as I have said, is that the death penalty is exacted with
       great infrequency even for the most atrocious crimes and that there is no
       meaningful basis for distinguishing the few cases in which it is imposed
       from the many cases in which it is not.

408 U.S. at 313 (White, J., concurring). Justice White further concluded:

       [C]ommon sense and experience tell us that seldom-enforced laws
       become ineffective measures for controlling human conduct and that the
       death penalty, unless imposed with sufficient frequency, will make
       little contribution to deterring those crimes for which it may be
       exacted.

Id. at 312. In fact, the infrequency with which defendants were targeted for capital

punishment was noted by each of the five concurring Justices in the Furman majority.

See Furman, 408 U.S. at 248 n. 11 (Douglas, J., concurring); id. at 291-95 (Brennan, J.,

concurring); id. at 309-10 (Stewart, J., concurring); id. at 312 (White, J., concurring);

and, id. at 354 n. 124 and 362-63 (Marshall, J., concurring).

       In 1972, Justice Brennan, positing a nation of 200 million people that carries out

50 executions per year, noted that “when government inflicts a severe punishment no


                                              5
      Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 6 of 34



more than 50 times a year, the inference is strong that the punishment is not being

regularly and fairly applied,” 408 U.S. at 294, and, “[w]hen the punishment of death is

inflicted in a trivial number of the cases in which it is legally available, the conclusion is

virtually inescapable that it is being inflicted arbitrarily. Indeed, it smacks of little more

than a lottery system.” Id.

       We are now a nation of over three hundred twenty five (325) million people. Out

of a universe of thousands of potential federal capital cases, there have been 85 federal

death verdicts. Federal Death Penalty Resource Counsel Project, Current Statistics re

Use of Federal Death Penalty (July 30, 2018), available at https://fdprc.capdefnet.org/doj-

activity/statistics/current-statistics-re-use-of-federal-death-penalty-february-2017.    Just

three federal prisoners have been executed. Id. The federal death penalty suffers from the

same vice in that only a handful of federal defendants who are potentially eligible for

capital punishment are ever targeted. And those who are targeted are rarely sentenced to

death and even more rarely are they executed.

          In 2014, a federal court in California struck down the California death penalty on

 the basis, in part, that it was so rarely carried out. Jones v. Chappell, 31 F.Supp.3d 1050

 (C.D. Cal. 2014), rev'd sub nom. Jones v. Davis, 806 F.3d 538 (9th Cir. 2015). The court

 noted:

       In California, the execution of a death sentence is so infrequent, and the delays
       preceding it so extraordinary, that the death penalty is deprived of any deterrent or
       retributive effect it might once have had. Such an outcome is antithetical to any
       civilized notion of just punishment.




                                              6
      Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 7 of 34



Id. at 1063.2 See also United States v. Caro, 597 F.3d 608, 636 (4th Cir. 2010) (Gregory,

J., dissenting) (“When the government selects a few offenders from such a large pool for

execution, it cannot further its legitimate penalogical interests; instead it merely inflicts

gratuitous pain and suffering.).

       The Connecticut Supreme Court in Santiago struck down that state’s death

penalty for the same reason, in language that has direct application to the

unconstitutional operation of the federal death penalty in non-death penalty states like

New Mexico:

       In addition, aside from the inevitable delays, the sheer rarity with which death
       sentences are imposed and carried out in Connecticut—and, indeed,
       the entire northeastern United States—suggests that any conceivable




2
   As noted by the California Supreme Court in People v. Seumanu, 61 Cal. 4th 1293,
1368, 355 P.3d 384, 438 (2015), “[t]he state has appealed (Jones) to the Ninth Circuit
Court of Appeals and, as of this writing, that appeal is pending. (Jones v. Chappell (9th
Cir., Aug. 21, 2014, No. 14–56373).).” Despite the pendency of the appeal, the California
Supreme Court, citing the Glossip dissent, invited further litigation of this claim in future
habeas corpus proceedings, pointing out that “although we have consistently, and
recently, rejected the Eighth Amendment/delay claim, doctrine can evolve” and “although
this court has consistently rejected the Eighth Amendment/delay argument, defendant’s
reliance on the recently decided Jones ... provides an opportunity to reconsider whether
our prior position on this issue remains valid and supportable.” Id. See also State v.
Santiago, 318 Conn. 1, 99-100, 122 A.3d 1 (2015) (“[Another] reason the death penalty
has lost its retributive mooring in Connecticut is that the lengthy if not interminable
delays in carrying out capital sentences do not just undermine the death penalty's
deterrent effect; they also spoil its capacity for satisfying retribution.”) (citing Jones). On
November 11, 2015, the Ninth Circuit decided the appeal in Jones, ruling that the merits
of the issue could not be reached because of habeas corpus technicalities. Jones v. Davis,
806 F.3d 538 (9th Cir. 2015). The court did comment that “[m]any agree with Petitioner
that California’s capital punishment system is dysfunctional and that the delay between
sentencing and execution in California is extraordinary.” But see Andrews v. Davis, 798
F.3d 759, 790 (9th Cir. 2015) (the state court's rejection of Andrews's Lackey delay claim
was not an unreasonable application of Furman or Gregg, and reasonable jurists would
not dispute the district court’s conclusion to that effect), pet. for rehg. granted, 888 F.3d
1020 (9th Cir. 2018).



                                              7
         Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 8 of 34



          deterrent value will be far less than in a state like Texas, for example, which
          carries out executions on a regular basis.3

State v. Santiago, 318 Conn. 1, 94, 122 A.3d 1 (2015) (holding that capital punishment,

as currently applied, violates the constitution of Connecticut because of “Connecticut's

long, troubled history with capital punishment: the steady replacement by more

progressive forms of punishment; the increasing inability to achieve legitimate

penological purposes; the freakishness with which the sentence of death is imposed;

the rarity with which it is carried out; and the [influence of] racial, ethnic, and

socioeconomic [factors].”).

          As Circuit Judge Calabresi persuasively argued in United States v. Fell:

          What is going on here is that the existence of certain local values makes the
          imposition of the federal death penalty in states that do not have the death
          penalty truly uncommon. It is in that sense significantly more “unusual”
          than was the execution of 16- and 17-year-olds or the execution of the
          mentally retarded, before the Supreme Court found those practices to be
          “cruel and unusual” in [Roper] and [Atkins]. In all of these categories,
          values that made a death sentence unusual were at work. In cases involving
          juvenile and mentally retarded defendants, the values were apparently
          related to the culpability of the offender. ... In cases from states without the
          death penalty, the constitutionally salient values are not just the “local”
          values, like the existence of substantial generalized opposition to capital
          punishment, but much more fundamentally the value and endurance of
          federalism itself-the recognition that we are part of a country, of a polity,
          that has to live with both Texan values and Northeastern values.

    United States v. Fell, 571 F.3d 264, 289-290 (2d Cir. 2009) (Calabresi, J., dissenting

    from the denial of rehearing en banc).




3
 See also, Eric A. Tirschwell and Theodore Hertzberg, Politics and Prosecution: a
Historical Perspective on Shifting Federal Standards for Pursuing the Death Penalty in
Non-Death Penalty States, 12 U. PA. J. CONST. L. 57 (2009) (“Since the creation of the
American republic more than two centuries ago, the federal government has executed 340
people, whereas the State of Texas has executed more than that many in the past fifteen
years.”).

                                                 8
      Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 9 of 34



       This argument – that the federal death penalty should be struck down because it is

 so infrequently sought or imposed – should not be misunderstood as a call for more

 frequent use of the federal death penalty. As Justice Brennan stated in Furman:

       The States claim, however, that this rarity is evidence not of arbitrariness,
       but of informed selectivity. Informed selectivity, of course, is a value not
       to be denigrated. Yet, presumably the States could make precisely the
       same claim if there were 10 executions per year, or five, or even if there
       were but one. That there may be as many as 50 per year does not
       strengthen the claim. When the rate of infliction is at that low level, it is
       highly implausible that only the worst criminals who commit the worst
       crimes are selected for this punishment. No one has yet suggested a
       rational basis that could differentiate in these terms the few who die from
       the many who go to prison. Crimes and criminals simply do not admit of a
       distinction that can be drawn so finely as to explain, on that ground, the
       execution of such a tiny sample of those eligible. Certainly the laws that
       provide for this punishment do not attempt to draw that distinction; all
       cases to which the laws apply are necessarily “extreme.”

408 U.S. at 293-94 (Brennan, J., concurring).

B.     The federal death penalty is a disproportionate sentence in this case because
       more aggravated cases have resulted in life sentences.

       The arbitrariness of the federal death penalty is further highlighted because no

meaningful basis may be discerned for distinguishing those cases – even among the most

extreme – where death is imposed from those cases in which it is not. For instance, in the

District of Colorado, Timothy McVeigh was sentenced to death and executed for utilizing

a truck bomb to blow up a federal building in Oklahoma City, killing 168 people and

injuring hundreds. Whereas, in the Southern District of New York, two men associated

with Usama bin Laden and al-Qaeda were spared the death penalty after being convicted

of simultaneous terrorist attacks, utilizing truck bombs, that destroyed two American

embassies in East Africa, killing 224 – including 12 Americans – and injuring thousands.




                                            9
     Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 10 of 34



        Similarly, Zacharias Moussaoui was spared the death penalty in the Eastern

District of Virginia despite a jury finding that he was responsible for the thousands of

deaths that occurred as a result of the September 11, 2001 terrorist attacks. Eric Rudolph

– the Olympics and abortion-clinic bomber – entered a guilty plea to a life sentence, as

did Theodore Kaczynski, the Unabomber, as did Jared Loughner whose mass-shooting

murder victims included a child and a federal judge. Yet, in Boston, in 2015, Dzhokhar

Tsarnaev was sentenced to death for the bombing of the Boston Marathon where fewer

people were killed than in other terrorism cases. Indeed, it is likely that in these and

several hundred cases that resulted in life sentence, there is not one in which a prosecutor

could not argue in summation, “If this case doesn’t call for the death penalty, what case

does?” And yet, in the overwhelming majority of such cases – juries (and in rare

instances, judges) returned life verdicts and, to an even greater extent, plea agreements

were offered and accepted. See Death Penalty Information Center, Struck by Lightning:

The Continuing Arbitrariness of the Death Penalty Thirty-Five Years After Its

Reinstatement      in       1976     (Washington,       DC       2011),     available      at

https://deathpenaltyinfo.org/documents/StruckByLightning.pdf (examining the facts of

several extremely aggravated federal death penalty cases in which the death penalty was

not sought or imposed).

        To be clear, all of these cases are by their own terms horrible, and all involved the

infliction of agony on victims and survivors, and their loved ones. Yet, for indiscernible

reasons, few were sentenced to death, while an overwhelming majority were not. See

Federal Death Penalty Resource Counsel Project, Current Statistics re Use of Federal

Death    Penalty    (July   30,    2018),   available   at   https://fdprc.capdefnet.org/doj-




                                             10
     Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 11 of 34



activity/statistics/current-statistics-re-use-of-federal-death-penalty-february-2017 (of 516

cases in which the Attorney General authorized the government to seek the death penalty,

only 85 resulted in death sentences). If any basis can be discerned, it is race, gender, and

region. Because the defense can demonstrate that any death sentence here is arbitrary and

disproportionate because life sentences have been imposed for more aggravated cases, the

Court should allow testimony about a limited number of other cases and statistics

regarding the race of the defendant and the victim and the outcome in other cases.

       In Walker v. Georgia, 129 S. Ct. 453 (2008), Justice Stevens, dissenting from the

denial of certiorari, noted that Georgia had sharply curtailed the scope of its statutory

proportionality review of death sentences, and noted, “The likely result of such truncated

review . . . is the arbitrary or discriminatory imposition of death sentences in

contravention of the Eighth Amendment.” Id. at 457.

       In their dissent in Glossip v. Gross, 135 S. Ct. 2726 (2015) (“Glossip dissent”),

Justices Breyer and Ginsburg issued a call for reconsideration of the constitutionality of

the death penalty, aligning themselves with several other justices who have expressed

similar views in the four decades since the Court reversed its earlier decision that capital

punishment violates the Eighth Amendment. See 135 S. Ct. at 2755-80 (2015). Again,

Justice Breyer urged that the Court reconsider the constitutionality of the death penalty,

in his dissent from the denial of certiorari in Brooks v. Alabama, 136 S. Ct. 708 (Mem.)

(Jan. 21, 2016) (“The unfairness inherent in treating this case differently from others

which used similarly unconstitutional procedures only underscores the need to reconsider

the validity of capital punishment under the Eighth Amendment. See Glossip v. Gross,

576 U.S. __ 135 S. Ct. 2726, 2755–56 (2015) (Breyer, J., dissenting).”). In support of




                                            11
      Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 12 of 34



their conclusion that “the death penalty, in and of itself, now likely constitutes a legally

prohibited ‘cruel and unusual punishmen[t],’” Justice Breyer, who authored the joint

dissent, wrote:

       In 1976, the Court thought that the constitutional infirmities in the death
       penalty could be healed; the Court in effect delegated significant
       responsibility to the States to develop procedures that would protect
       against those constitutional problems. Almost 40 years of studies, surveys,
       and experience strongly indicate, however, that this effort has failed.
       Today's administration of the death penalty involves three fundamental
       constitutional defects: (1) serious unreliability, (2) arbitrariness in
       application, and (3) unconscionably long delays that undermine the death
       penalty's penological purpose. Perhaps as a result, (4) most places within
       the United States have abandoned its use. I shall describe each of these
       considerations, emphasizing changes that have occurred during the past
       four decades. For it is those changes, taken together with my own 20 years
       of experience on this Court, that lead me to believe that the death penalty,
       in and of itself, now likely constitutes a legally prohibited “cruel and
       unusual punishmen[t].” U.S. Const., Amdt. 8.

Id. at 2755-56.

       The Connecticut Supreme Court, relying heavily on Justices Breyer’s analysis,

held that “the death penalty . . . is so out of step with our contemporary standards of

decency as to violate the state constitutional ban on excessive and disproportionate

punishment.” State v. Santiago, 318 Conn. 1, 45-46, 122 A.3d 1 (Conn. 2015).

Although decided on state constitutional grounds, Santiago ruled that “when construing

the state constitutional freedom from cruel and unusual punishment, we broadly adopt

the framework that the federal courts have used to evaluate eighth amendment

challenges.” Santiago, 318 Conn. at 45-46. The Connecticut Supreme Court cited the

Glossip dissent for a number of factual and legal propositions critical to the Santiago

holding, including:

       • “[n]otably, by 2012, less than 2 percent of the nation's counties accounted for
         all of the death sentences imposed nationwide” (318 Conn. at 80);



                                            12
     Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 13 of 34




       • “between 1973 and 1995, state and federal courts found errors in more than
         two thirds of the capital cases that they reviewed” (id. at 93 n. 96);

       • “[s]tatistical analyses have demonstrated to a near certainty that innocent
         Americans have been and will continue to be executed in the post-Furman era”
         (id. at 104); and

       • “court[s], not legislature[s] ultimately must determine whether capital
         punishment comports with evolving standards of decency because [these] are
         quintessentially judicial matters ... [that] concern the infliction—indeed the
         unfair, cruel, and unusual infliction—of a serious punishment [on] an
         individual. ” (id. at 138-39).

       The first Federal Death Penalty Act (“FDPA”) case to address the realities of the

modern death penalty as outlined in the Glossip dissent was United States v. Sampson,

2015 WL 7962394, at *20 (D. Mass. Dec. 2, 2015). There, although the court denied the

defendant’s challenges to the FDPA on the pre-Glossip record presented in that case, it

nevertheless concluded, citing the Glossip dissent and its own prior ruling on the issue,

that “[t]he court remains concerned … about the potential rate of error in federal capital

cases generally and the risk of the execution of the innocent particularly.” Since then,

Glossip’s call for reconsideration of the constitutionality of the death penalty has been

raised in other FDPA cases, including United States v. Fell, 5:01-cr-00012-GWC-1 (D.

Vt.), where the court conducted a nine-day evidentiary hearing on the constitutionality

of the Federal Death Penalty Act that concluded on July 21, 2016. In Fell, the court

received testimony on all of the issues outlined in Justice Breyer’s opinion, and so

developed a comprehensive and up-to-date record of the FDPA’s Fifth and Eighth

Amendment deficiencies, including:

       1. The rate of error, i.e., the high number mistakes by judges, prosecutors,
          police, or defense counsel, requiring new trials or sentencing hearings – and
          sometimes exonerations;




                                            13
     Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 14 of 34



       2. The arbitrariness in the FDPA’s application, i.e., how the exercise of
          prosecutorial and juror discretion results in regional, racial, and gender
          disparities in which defendants receive the death penalty;

       3. The unavoidable delay built into the process, intended to protect against that
          error, but which has failed to do so, and which undermines the purpose of
          capital punishment, often at the expense of victim family members; and

       4. Abandonment of use of the death penalty in most states under evolving
          standards of decency.

Transcripts of Fell hearing attached as Exhibit 1. After hearing this evidence, the Court

concluded that

       the death penalty continues to be imposed in an arbitrary manner. The
       state in which a crime occurs is the strongest predictor of whether a death
       sentence will result. Whether the murder victim is white is also a
       significant predictor. These findings are as true of cases brought under the
       FDPA as they are for state death sentences. When large groups of cases
       which qualified for the FDPA but did not result in death sentences are
       compared with the much smaller groups which did, it is not possible to
       identify principled distinctions between the groups. The imposition of the
       death penalty through the FDPA remains arbitrary despite the efforts of
       the prosecution and the courts to impose legal standards to guide the
       decisions leading to a death sentence.

 United States v. Fell, 224 F. Supp. 3d 327, 345 (D. Vt. 2016). Nonetheless, the court

 ultimately concluded that it was powerless to overturn precedent holding the FDPA

 constitutional. Id. at 359 (“The time has surely arrived to recognize that the reforms

 introduced by Gregg and subsequent decisions have largely failed to remedy the

 problems identified in Furman. Institutional authority to change this body of law is

 reserved to the Supreme Court. For this reason, the trial court is required to deny the

 defense motions related to the constitutionality of the death penalty.”).

       Because the federal death penalty is so infrequently sought, imposed, or carried

out, it operates in an unconstitutionally arbitrary and capricious manner. Whether the

most accurate analogy is being struck by lightning or participating in, and losing, a



                                             14
      Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 15 of 34



deadly lottery, the federal death penalty does not operate in a rational manner. On this

basis, the court should strike it down.

C.     The federal death penalty is unevenly applied on a regional basis and
       suffers from intractable problems of racial discrimination in the targeting
       of minority and male defendants and a demonstrated race/gender-of-
       victim effect.

       From the earliest days of the government’s efforts to enforce a nation-wide death

penalty, patterns of uneven and apparently discriminatory application appeared. From

the very outset, the federal death penalty was utilized almost exclusively by federal

prosecutors in the South and, not surprisingly, federal death verdicts were returned almost

exclusively in those traditional “death-belt” jurisdictions. Added to this arbitrary factor

was the invidious circumstance of race, since the federal death penalty, as it was rolled

out in the 1990’s, targeted a disproportionately large number of minority groups,

particularly African-Americans and Hispanics.

       By 1994 – barely six years after the return of a “modern” federal death penalty –

obvious racial disparities surfaced in the Justice Department’s prosecution of federal

death penalty cases. In response, the House Subcommittee on Civil and Constitutional

Rights initiated an investigation and concluded as follows:

       Race continues to plague the application of the death penalty in the United
       States. On the state level, racial disparities are most obvious in the
       predominant selection of cases involving white victims. On the federal
       level, cases selected have almost exclusively involved minority
       defendants.

Racial Disparities in Federal Death Penalty Prosecutions 1988-1994, Staff Report by

the Subcommittee on Civil and Constitutional Rights, Committee on the Judiciary, 103rd




                                            15
        Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 16 of 34



Congress, 2nd Session, March 1994.4 That report found that as of 1994 there had been

37 defendants authorized for capital punishment under the § 848(e) (ADAA) scheme, of

whom 33 (87 percent) were black or Hispanic. Id. Presently the figure is 73 percent,

hardly an “improvement” to boast of. See Federal Death Penalty Resource Counsel

Project, Current Statistics re Use of Federal Death Penalty (July 30, 2018), available at

https://fdprc.capdefnet.org/doj-activity/statistics/current-statistics-re-use-of-federal-

death-penalty-february-2017.

            The disproportionate targeting of minorities for the federal death penalty has had

what would be the expected effect on the population of death row. Thus, as of July 2018,

58 percent of those presently on federal death row are non-white. Id.              This is an

unacceptable state of affairs and, bluntly, one that should be a source of intense concern

to the Justice Department.

             Twenty-eight years ago, dissenting in McCleskey v. Kemp, 481 U.S. 279

    (1987), Justices Brennan, Marshall, Blackmun and Stevens hypothesized an attorney-

    client conversation where an African-American defendant charged with capital murder

    asked his attorneys what the chances were that he would be sentenced to death and what

    would factor into that process. Based on the statistical analysis presented to the Court

    in McCleskey, it was the four dissenters’ conclusion that, at some point in the

    dialogue, defense counsel would have to level with their client and tell him that his race

    would play an important role – perhaps a determinative one – in whether he lived or

    died:




4
    Available at https://www.ncjrs.gov/pdffiles1/153840.pdf.



                                                16
      Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 17 of 34



         The story could be told in a variety of ways, but [the client] could not fail
         to grasp its essential narrative line: there was a significant chance
         that race would play a prominent role in determining if he lived or
         died.

McCleskey, 481 U.S. at 322 (Opinion of Brennan, Marshall, Blackmun and Stevens,

J.J., dissenting).5

        More than a century ago, in Yick Wo v. Hopkins, 118 U.S. 356 (1886), the Court

observed that application of seemingly neutral laws “with an evil eye and an unequal

hand, so as practically to make unjust and illegal discrimination between persons in

similar circumstances” amounts to a denial of equal protection. Id. at 373-74. The

historical truth is that in the United States capital punishment and race have always been

inextricably intertwined. That state-of-affairs is likely to continue, regrettably, until

we can say honestly that racism has disappeared from our society. See, e.g., C. J.

Ogletree (Ed.) and A. Sarat, From Lynch Mobs to the Killing State: Race and the Death

Penalty in America (New York University Press 2006); R. K. Little, What Federal

Prosecutors Really Think: The Puzzle of Statistical Race Disparity Versus Specific Guilt,

and the Specter of Timothy McVeigh, 53 DEPAUL L. REV. 1591 (2004); K. McNally,

Race and the Federal Death Penalty: A Nonexistent Problem Gets Worse, 53 DEPAUL

L. REV. 1615 (2004); C. J. Ogeltree, Black Man’s Burden: Race and the Death Penalty

in America, 81 OREGON L.REV. 15 (2002); G. L. Pierce, M. L. Radlet, Race, Region,

and Death Sentencing in Illinois, 81 OREGON L.REV. 39 (2002); S. Bright,

Discrimination, Death and Denial: The Tolerance of Racial Discrimination in the

Infliction of the Death Penalty, 35 SANTA CLARA L.REV. 433 (1995); D. Baldus,

5
 After his retirement from the bench, Justice Powell wrote that he regretted both voting
with the majority, and authoring the Court’s 5-4 opinion upholding the death penalty in
McCleskey. See, Jeffries, Justice Lewis F. Powell, Jr. (1994) at pp. 451-52.

                                              17
     Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 18 of 34



Reflections on the ‘Inevitability’ of Racial Discrimination in Capital Sentencing and

the ‘Impossibility’ of its Prevention, Detection and Correction, 51 WASH. & LEE

L.REV. 359 (1994); Bienen, Weiner, Denno, Allison and Mills, The Reimposition of

Capital Punishment in New Jersey: The Role of Prosecutorial Discretion, 41

RUTGERS L.REV. 27, 100-57 (1988).

       In Connecticut’s recent Santiago decision, the issue of race and the death

penalty was examined with the following conclusion:

        [D]ata from three authoritative governmental sources . . . all suggest
        that the death penalty in Connecticut continues to be imposed
        disproportionately based on the race and ethnicity of the offender and the
        victim. The alleged disparities are significant and hold across hundreds
        of cases. We are not aware of any study or report to have reached a
        contrary conclusion.

 Santiago, 318 Conn. at 151.

        In Furman, Justice Douglas had explored the correlation between race and the

 death penalty and concluded:

        In a Nation committed to equal protection of the laws there is no
        permissible “caste” aspect of law enforcement. Yet we know that the
        discretion of judges and juries in imposing the death penalty enables
        the penalty to be selectively applied, feeding prejudices against the
        accused if he is poor and despised, lacking political clout, or if he is a
        member of a suspect or unpopular minority, and saving those who by
        social position may be in a more protected position. In ancient Hindu
        law, a Brahman was exempt from capital punishment, and in those days,
        “[g]enerally, in the law books, punishment increased in severity as
        social status diminished.” We have, I fear, taken in practice the same
        position . . . .

Furman, 408 U.S. at 255 (Douglas, J., concurring; footnotes omitted.)

       Mr. Cleveland’s showing in this motion is sufficient to establish a case of

arbitrariness and invidious discrimination in the enforcement of the federal death

penalty. See United States v. Sampson, 275 F. Supp. 2d 49, 89 (D. Mass. 2003) (“ If the


                                           18
      Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 19 of 34



sentences of similarly situated defendants based on these three factors [the race of the

defendant, the race of the victim, and the geographic location of the prosecution] were

so great as to make the imposition of the death penalty arbitrary and capricious, the Eighth

Amendment would be violated. The first two factors, the race of the defendant and the

race of the victim, also implicate the Fifth Amendment's guarantee of equal protection of

the law.”). It is difficult to imagine how, other than racism, one can explain the arbitrary

manner in which the federal death penalty has been administered in terms of the race of

those who are targeted. See Batson v. Kentucky, 476 U.S. 79, 93-94 (1986). To all

appearances, there is “a clear pattern, unexplainable on grounds other than race.”

Arlington Heights v. Metropolitan Housing Dev. Corp., 429 U.S. 252, 266 (1977).

       The Supreme Court has repeatedly emphasized that “the core of the Fourteenth

Amendment is the prevention of meaningful and unjustified official distinctions

based on race.” Hunter v. Erickson, 393 U.S. 385, 391 (1969). This case, as a federal

prosecution, is subject to the Due Process Clause of the Fifth Amendment, which has long

been held to embody a guarantee of equal protection. Bolling v. Sharpe, 347 U.S. 497,

499 (1954); see Weinberger v. Wisenfeld, 420 U.S. 636, 638 n.2 (1975) (“[Our]

approach to Fifth Amendment equal protection claims has . . . been precisely the same as to

equal protection claims under the Fourteenth Amendment.”). In the area of criminal

justice, where racial discrimination “strikes at the fundamental values of our judicial

system and our society as a whole,” Rose v. Mitchell, 443 U.S. 545, 556 (1979), the

Supreme Court has “consistently” articulated a “strong policy . . . of combating racial

discrimination.” Id. at 558. That the federal death penalty operates with an

impermissible racist effect is powerful evidence that it operates fundamentally unfairly



                                             19
     Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 20 of 34



and with arbitrariness and caprice. Where a death penalty appears to operate so as to

institutionalize racism, it offends the same constitutional values that yielded Furman

and this nation’s abandonment of capital punishment.

D.     The FDPA is unconstitutional because it fails to provide a structure that
       permits a reasoned choice between a sentence of life without the possibility of
       release and execution.

       When the Supreme Court reinstated the death penalty in 1976, it did so subject to

the requirement that “where discretion is afforded a sentencing body on a matter so grave

as the determination of whether a human life should be taken or spared, that discretion

must be suitably directed and limited so as to minimize the risk of wholly arbitrary and

capricious action.” Gregg v. Georgia, 428 U.S. 153, 189 (1976). That pronouncement

followed from Furman v. Georgia, which had held that “as a result of giving the

sentencer unguided discretion to impose or not to impose the death penalty for murder,

the penalty was being imposed discriminatorily, wantonly and freakishly, and so

infrequently that any given death sentence was cruel and unusual.” Id. at 220–21

(footnote omitted).

       The essential components of the new “guided discretion” scheme – under which

the American death penalty system still operates – were that the pool of death eligible

defendants would be narrowed in an objective way, and that every eligible defendant

would then be entitled to individualized sentencing in which his or her character and

background were put into evidence and the jury given unfettered discretion to exercise

mercy. As more thoroughly discussed in Justice Breyer’s dissent in Glossip and the

Connecticut Supreme Court’s decision in Santiago, and as demonstrated at the




                                           20
      Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 21 of 34



evidentiary hearing in Fell, this delicate balance of discretion and objective reliability has

proved unattainable.

       Members of the Supreme Court identified the legal tension in this balancing act

more than twenty years ago, and have struggled with it since. Arguing that Furman and

Lockett “cannot be reconciled,” Justice Scalia announced in 1990, that he would no

longer enforce the requirement of individualized sentencing. Walton v. Arizona, 497 U.S.

639, 664 (1990). Justice Thomas took a similar position in 1993. See Graham v. Collins,

506 U.S. 461, 479 (1993). And Justice O’Connor also expressed concern with the

difficulty of achieving consistency while allowing the consideration of individual

characteristics. See California v. Brown, 479 U.S. 538 (1987).

         Most famously, in 1994, Justice Blackmun announced that “[f]rom this day

 forward, I no longer shall tinker with the machinery of death.” Callins v. Collins, 510

 U.S. 1141 (1994) (Blackmun, J., dissenting from denial of certiorari). He explained:

       For more than 20 years I have endeavored-indeed, I have struggled-along with a
       majority of this Court, to develop procedural and substantive rules that would
       lend more than the mere appearance of fairness to the death penalty endeavor.
       Rather than continue to coddle the Court’s delusion that the desired level of
       fairness has been achieved and the need for regulation eviscerated, I feel morally
       and intellectually obligated to concede that the death penalty experiment has
       failed.

Callins, 510 U.S. at 1145. Justice Blackmun noted that “discretion could not be

eliminated from capital sentencing without threatening the fundamental fairness due a

defendant when life is at stake,” because “evolving standards of decency required due

consideration of the uniqueness of each individual defendant when imposing society’s

ultimate penalty.” Id. at 1147-49. See also Woodson v. North Carolina, 428 U.S. 280, 301

(1976) (plurality opinion). Instead, “[e]xperience has shown that the consistency and




                                             21
       Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 22 of 34



rationality promised in Furman are inversely related to the fairness owed the individual

when considering a sentence of death. A step towards consistency is a step away from

fairness.” Callins, 510 U.S. at 1147–49. See also Woodson, 428 U.S. at 301 (plurality

opinion).

        If the inherently conflicting commands that the “sentencer’s discretion to impose

death must be closely confined, but the sentencer’s discretion not to impose death (to

extend mercy) must be unlimited,” have confounded the Justices who developed them, it

should not be surprising that they have proven impossible for jurors to follow. The most

comprehensive study to date on the actual process by which death sentences are meted

out is by the Capital Jury Project, a research program by a consortium of universities on

how people who served on actual capital juries made the life and death decisions in those

cases. In June of 2007, New Mexico State District Judge Garcia found the State’s death

penalty unconstitutional, in part because of the findings of the CJP. See State v.

Dominguez, D-0101-CR-200400521, State v. Good, D-0101-CR-00522, order entered

June 8, 2007. Those findings demonstrate jurors’ multiple difficulties with the guided

discretion scheme, including:

   •    the jurors’ propensity (more than 50% of the time) to decide the penalty issues
        before the penalty phase begins, thereby effectively excluding mitigation from the
        sentencing calculus;

   •    a lack of juror understanding of what constitutes mitigation, and how it relates to
        the jurors’ sentencing function;

   •    a widespread lack of understanding of the instructions given by the judge; and

   •    evidence that the jury decision-making process in death penalty cases is so flawed
        as to violate constitutional principles.




                                            22
      Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 23 of 34



      The CJP specifically identified “seven deadly sins” of capital juries and jury

selection procedure that unfairly increase the likelihood of a death verdict:

       1.      premature decision-making;

       2.      death bias;

       3.      mitigation impairment;

       4.      a widespread belief that death is mandatory in some cases;

       5.      evasion of responsibility for sentencing decisions;

       6.      the persistence of race as a factor in sentencing decisions; and

       7.      the belief that life sentences will not result in lengthy incarcerations.

       Worse, studies also show that jury instructions do little to ameliorate these

concerns. See C. Haney, L. Sontag and S. Constanzo, Deciding to Take a Life: Capital

Juries, Sentencing Instructions, and the Jurisprudence of Death, 50 Journal of Social

Issues 49 (1994). The authors of the Haney study interviewed 57 capital jurors from

nineteen death penalty trials conducted under a California statute very similar to the

FDPA. Contrary to the bromide that jurors are presumed to follow instructions,

Richardson v. Marsh, 481 U.S. 200, 211 (1987), the authors found that – in this context –

jurors either failed to apply or misapplied the instructions:

       • one third of the jurors sampled focused on the nature of the crime in a way that
         essentially created a presumption for death;

       • for many of the jurors, the absence of mitigation was the only reason given for
         the imposition of a death sentence, shifting the burden to the accused;

       • the jurors misused the instructions to limit their consideration of some of the
         evidence admitted during the penalty phase, and to insulate them from the
         impact of their decision;

       • many of the jurors dismissed mitigation evidence outright because they believed
         that mitigation evidence failed to “fit into” the rubric contained in the



                                             23
      Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 24 of 34



         instructions, thereby indicating a failure to understand what constituted
         mitigating evidence;

       • 80% of the jurors refused to consider mitigation evidence because it did not
         directly reduce the defendant’s responsibility for the crime;

       • 60% of the jurors rejected mitigation evidence because it did not completely
         account for the defendant’s actions;

       • less than one third of the jurors demonstrated a workable understanding of what
         constituted mitigation evidence; and

       • 80% of the juries that returned death verdicts did so believing that life
         imprisonment without the possibility of parole did not mean life without parole.

       Other research has demonstrated similarly widespread misunderstandings of the

sentencing function in general, and of mitigation in particular, among jurors deciding

death penalty cases. See, e.g., C. Haney and M. Lynch, Comprehending Life and Death

Matters: A Preliminary Study of California’s Capital Penalty Instructions, Law and

Human Behavior, Vol. 18, No. 4, pp. 411–36 (1994); Peter M. Tiersma, Dictionaries and

Death: Do Capital Jurors Understand Mitigation?, Utah Law Review 1, 10-43 (1995); J.

Luginbuhl, Comprehension of Judges’ Instructions in the Penalty Phase of a Capital

Trial: Focus on Mitigating Circumstances, 16 Law and Human Behavior 203 (April

1992); M. Constanzo and S. Constanzo, Jury Decision Making in the Capital Penalty

Phase: Legal Assumptions, Empirical Findings and a Research Agenda, 16 Law and

Human Behavior 185 (1992). These and other studies show that jurors in death penalty

cases misunderstand what they are permitted to consider much more often than not, and

that instructions rarely cure these misunderstandings. See Bowers & Foglia, Still

Singularly Agonizing, supra, at 68–69.

       Because death is different from other forms of punishment, courts have long

recognized the greater need for the reliability of the process by which the jury arrives at a



                                             24
     Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 25 of 34



sentence. See Woodson, 428 U.S. at 303-05 (op. of Stewart, Powell & Stevens, JJ.). A

death penalty sentencing scheme that presents an unreasonable likelihood that the jurors

will misunderstand their role and their assignments violates the Eighth Amendment and

the Due Process Clause. Cf. Simmons v. South Carolina, 512 U.S. 154 (1994)

(establishing entitlement under Due Process Clause to instruction that “life” sentence

means life without parole); Godfrey, 446 U.S. at 427 (holding that Eighth Amendment

requires specificity and clarity in guiding juror discretion). Jurors must be provided an

environment that permits a reasoned, informed decision about the appropriate sentence.

Cf. Boyde v. California, 494 U.S. 370, 380 (1990) (holding that reversal is required when

there is a “reasonable likelihood” that jury misunderstood instruction so as to improperly

limit consideration of mitigating evidence).

       The Capital Jury Project’s findings demonstrate that although the FDPA may

have been designed with as much care as possible under the circumstances, the capital

sentencing process that the statute provides is constitutionally inadequate in practice. The

results of jurors’ good faith grappling with the law – arbitrary, biased, and erroneous

death verdicts – are intolerable as a matter of due process and proportional punishment.

       E.      The Federal Death Penalty Act is unconstitutional because it does not
               meaningfully narrow the class of offenders eligible for the death
               penalty as constitutionally required.

        As demonstrated above through case citations and the sentences imposed, the

 FDPA has also done a terrible job of limiting the death penalty to the “worst of the

 worst,” because under the FDPA virtually every homicide can be punished by a

 sentence of death. That the multitude of FDPA aggravators meant the Act failed utterly

 to perform the narrowing function that the Eighth Amendment requires was noted by a




                                               25
      Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 26 of 34



 former federal prosecutor once responsible for administering the federal death penalty in

 the Department of Justice:

       When the generality of these statutory aggravating factors and [their]
       commonality in many murders are considered together with the added
       authority to invoke non-statutory aggravating factors, it is the rare federal
       defendant that could not, in theory, be sentenced to death simply upon
       conviction of any killing offense.

Little, R.K., The Federal Death Penalty: History and Some Thoughts About the

Department of Justice’s Role, 26 Fordham Urb. L.J. 347, 403 (1999). This failure to

narrow the class of crimes or the broad range of aggravating factors also leaves the FDPA

open to its disproportionate application to people of color.

       The arguments and evidence that will be presented before this Court at a hearing

will show that sometimes it is just luck, good or bad, rather than culpability that explains

why one defendant is convicted and sentenced to death while another similarly situated is

sentenced to life.

F.     The Supreme Court has recognized that renewed Constitutional challenges
       are properly adjudicated in District Courts.

         Experience over 40 years has shown that the Gregg approach has not tamed the

 arbitrariness problem identified in Furman. But, the question remains: In light of

 Gregg, what can this Court do about it?

         Mr. Cleveland acknowledges the Court’s obligation to apply the doctrine of

 stare decisis. But the protections afforded by the Eighth Amendment’s prohibition of

 cruel and unusual punishment require reconsideration when necessary to ensure that its

 underlying values have not become moribund by later developments and knowledge.

 This Court can discount precedent when “special justifications” are present. Arizona v.

 Rumsey, 467 U.S. 203, 212 (1984).


                                             26
     Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 27 of 34



        Such justifications include the advent of “subsequent changes or
        development in the law” that undermine a decision’s rationale, Patterson
        v. McLean Credit Union, supra, . . . the need “to bring [a decision] into
        agreement with experience and with facts newly ascertained,” Burnet
        v. Coronado Oil & Gas Co., supra . . . ; and a showing that a particular
        precedent has become a “detriment to coherence and consistency in the
        law . . . ” (citations omitted).

 Payne v. Tennessee, 501 U.S. 808, 849 (1991) (Marshall, J. dissenting).

       While the above relates to the Supreme Court reconsidering its own precedents,

the doctrine of anticipatory overruling, which allows a lower court to reject precedent

where circumstances have changed, applies to both courts of appeals, see United States

v. City of Philadelphia, 644 F.2d 187, 191-92 (3rd Cir. 1980) (declining to follow

Wyandotte Transportation Co. v. United States, finding it “merely one step in the

development of current standards” and refusing to be “blind to subsequent

developments”); United States v. White, 405 F.2d 838, 847-48 (7th Cir. 1969) (declining

to follow On Lee v. United States, even though factually “directly on point” because of

subsequent developments); and to lower courts, especially when called upon to

reconsider issues of overriding constitutional importance. See Barnette v. West Virginia

Board of Education, 47 F. Supp. 251 (S.D. West Virginia) (1942) (refusing to follow

Supreme Court decision in Minersville School District v. Gobitis, 310 U.S. 586 (1940),

holding that public schools could require students to salute the flag and recite the Pledge

of Allegiance over their religious objections as Jehovah’s Witnesses), aff’d West

Virginia State Board of Education v. Barnette, 319 U.S. 643 (1943) (overruling

Minersville School District); Gebhart v. Belton, 87 A.2d 862 (Del. Ch. 1952), aff’d 91

A.2d 137 (De. 1952) (Delaware Chancellor Collins Seitz (later Chief Judge of the Third

Circuit) orders public schools integrated despite Supreme Court decision in Plessy v.



                                            27
      Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 28 of 34



Ferguson, 163 U.S. 537 (1896)), affirmed in Brown v. Board of Education, 347 U.S. 483

(1954).6

       The Supreme Court has often addressed challenges to the constitutionality of a

statute first ruled upon by a district court; thus, the review of Supreme Court

constitutional decisions in other contexts is instructive. Two areas where the Court has

confronted constitutional challenges to laws where district courts have ruled after

evidentiary hearings are the abortion and election law cases. In each of these areas, trial

courts, based on records before them, make assessments whether a statute created an

undue burden on constitutional rights. In each of these classes of cases, a previous

holding that a statute is constitutional presented no bar to later assessment as to

constitutionality based on new evidence at a hearing in the trial court. Thus, the question

is not merely whether this Court is empowered to assess the constitutionality of the

federal death penalty, it is whether it is this Court’s duty. The answer to both questions is

“yes.” Indeed, this is emphatically the role of the judiciary. See United States v. Windsor,

570 U.S. ___, 133 S. Ct. 2675, 2688 (2013).

       For example, in Whole Woman’s Health v. Hellerstedt, 579 U.S. ___, 136 S. Ct.

2292 (2016), the Supreme Court reviewed the Fifth Circuit decision overturning a district

court’s finding unconstitutional a Texas statute regulating abortion. The law at issue had

previously survived a facial challenge to its constitutionality, where the Fifth Circuit had

held that “holding the provisions unconstitutional on their face is improper because the

6
  Judge Seitz did not directly rule Plessy was no longer good law but instead held that the
evidence did not support Plessy’s underlying assumption that the segregated schools in
New Castle, Delaware were equal. Similarly, there is no need for this Court to say Gregg
is no longer applicable. The Court need only rule that the now-available evidence does
not support its underlying assumption that the death penalty can be imposed in a non-
arbitrary and non- capricious manner.

                                             28
     Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 29 of 34



plaintiffs had failed to show that either of the provisions ‘imposes an undue burden on a

large fraction of women.’” Whole Woman's Health, 136 S. Ct. at 2304. Within weeks of

that decision a new suit was filed alleging a constitutional violation and, after an

evidentiary hearing, the district court concluded that the law imposed an undue burden on

constitutional rights. In reversing the lower court, the Court of Appeals declared that “the

district court erred by substituting its own judgment for that of the legislature” when it

conducted its “undue burden inquiry,” in part because “medical uncertainty underlying a

statute is for resolution by legislatures, not the courts.” Id., at 587 (citing Gonzales v.

Carhart, 550 U.S. 124, 163 (2007)).

       The Supreme Court reversed, and in so doing, endorsed the action of the district

court, which “did not simply substitute its own judgment for that of the legislature. It

considered the evidence in the record — including expert evidence, presented in

stipulations, depositions, and testimony. It then weighed the asserted benefits against the

burdens.” Whole Woman’s Health, 136 S. Ct. at 2310. Deciding that the as-applied

review was not barred by the previous denial of a facial challenge, the Court turned to the

Eighth Amendment for an example:

       We find this approach persuasive. Imagine a group of prisoners who claim
       that they are being forced to drink contaminated water. These prisoners
       file suit against the facility where they are incarcerated. If at first their suit
       is dismissed because a court does not believe that the harm would be
       severe enough to be unconstitutional, it would make no sense to prevent
       the same prisoners from bringing a later suit if time and experience
       eventually showed that prisoners were dying from contaminated water.
       Such circumstances would give rise to a new claim that the prisoners’
       treatment violates the Constitution. Factual developments may show that
       constitutional harm, which seemed too remote or speculative to afford
       relief at the time of an earlier suit, was in fact indisputable. In our view,
       such changed circumstances will give rise to a new constitutional claim.
       This approach is sensible, and it is consistent with our precedent.




                                              29
      Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 30 of 34



Whole Woman’s Health, 136 S. Ct. at 2305 (emphasis added).

       Similarly, in Crawford v. Marion County Election Board, 533 U.S. 181 (2010), a

divided Court upheld Indiana’s voter identification law against a facial challenge, while

expressly reserving the possibility that the requirement might be unconstitutional as

applied in some later case. There, the Court held that the petitioners presented an

inadequate record in the court below to make it “possible to quantify either the magnitude

of the burden [on voting rights] on this narrow class of voters or the portion of the burden

imposed on them that is fully justified.” Id. at 202. The possibility that an adequate record

could be made in the future was clearly contemplated by the Court. Like the question

whether a particular statute creates an “undue burden” on abortion rights or on the right

to vote, the “evolving standard of decency” of Eighth Amendment jurisprudence requires

a factual review of the effects of the challenged statute. Community standards change

over time and the full impact of laws on constitutional rights may not be readily

ascertained until a tipping point has been reached regarding the FDPA’s constitutionality.

It is submitted that the sole venue where that assessment can be made in the first instance

is in the District Court. Cf. United States v. Littrell, 478 F. Supp. 2d 1179 (C.D. Cal.

2007) (striking death penalty allegations made under the FDPA because government

charging decisions were arbitrary and capricious).

G.     There is a national consensus against the death penalty marking the
       maturing and evolving standards of decency in our society.

         There have been only three federal executions, less than one percent of cases

 reviewed and none since 2003. By any measure the use of the death penalty is declining.

 In the United States, there is steady movement away from the death penalty. Since 2006,

 eight states have abolished capital punishment: New York (2007), New Jersey (2007),



                                             30
     Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 31 of 34



 New Mexico (2009), Illinois (2011), Connecticut (2012), Maryland (2013), Nebraska

 (2015), and Delaware (2016). It is now entirely prohibited in 21 jurisdictions and

 several governors have declared moratoria. The four states with a moratorium on

 executions are: Oregon (2011), Colorado (2013), Washington (2014), and Pennsylvania

 (2015). See Death Penalty Information Center, States with and without the Death

 Penalty (Nov. 9, 2016), available at http://deathpenaltyinfo.org/statesand-without-death-

 penalty.

        Most recently, the New Hampshire House and Senate both passed Senate Bill

 593 repealing the use of the death penalty, although the governor vetoed the bill, which

 itself was almost overturned on September 13, 2018. See Paul Steinhouser, N.H. death

 penalty remains on the books as legislature fails to override veto, Concord Monitor

 (Sept. 13, 2018), available at https://www.concordmonitor.com/Veto-override-of-death-

 penalty-dies-in-NH-Senate-20151290. Although the United States is considered a death

 penalty country, executions are rare or non-existent in most of the nation: a majority of

 the states—31 out of 50—have either abolished the death penalty or have not carried out

 an execution in at least 10 years. As important to the analysis as legislative change is the

 fact that the states that retain the death penalty use it so infrequently that there is little

 need to pursue legislation barring it. As the Supreme Court noted in Hall v. Florida,

 Oregon “has suspended the death penalty and executed only two individuals in the past

 40 years.” 134 S. Ct. 1986, 1997 (2014). The governors in Washington, Colorado, and

 Pennsylvania have indefinitely suspended executions.

       The trend in the federal system reflects the same national march away from

capital punishment as the states. In the five years between 2003 and 2008, there were 32




                                              31
       Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 32 of 34



federal death sentences. In comparison, between 2013 and 2018, there were only 10

federal death sentences. Death Penalty Information Center, Federal Death Sentences By

Year       Since   1988,     available      at        https://deathpenaltyinfo.org/federal-death-

penalty#SentencesByYear.

          Public opinion polling has also shown a growing consensus against the death

penalty, with public support for the death penalty also dropped by around twenty

percentage points between the mid-1990s and 2016. See Jeffrey M. Jones, U.S. Death

Penalty      Support    at   60%,        Gallup        (Oct.    25,    2016),     available    at

http://www.gallup.com/poll/196676/death-penalty-support.aspx;              Baxter      Oliphant,

Support for the Death Penalty Lowest in Four Decades, Pew Res. Ctr. (Sept. 29, 2016),

available at http://www.pewresearch.org/fact-tank/2016/09/29/support-for-death-penalty-

lowest-in-more-than-four-decades/. Professional organizations have taken similar

position. The American Medical Association strictly prohibits physician participation in

executions for ethical reasons. The American Pharmacological Association has declared

that pharmacists should not compound chemicals to be used for lethal injection. This

year, the Pope, the spiritual leader of more than 69 million Americans, called for

abolition of capital punishment as a matter of Catholic doctrine.

H.        There is an international consensus against the death penalty marking the
          maturing and evolving standards of decency in our society.

          While not dispositive, the Court cannot altogether ignore the views of the

international community as they shed light on the “evolving standards of decency in a

maturing society.” There has been a tremendous shift towards abolition. At the time of

Gregg, 16 countries had abolished the death penalty. Today, over 140 countries have

achieved abolition. Death Penalty Information Center, Abolitionist and Retentionist



                                                 32
      Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 33 of 34



Countries (Dec. 31, 2017), available at https://deathpenaltyinfo.org/abolitionist-and-

retentionist-countries. The United States is the only nation in the Western Hemisphere

that continues to carry out executions.

                                      CONCLUSION

       Rather than a slow burn, arbitrariness in the administration of capital

punishment has metastasized into an out-of-control wildfire. No matter the direction

one looks, capital punishment presents seemingly intractable problems. Decisions such as

Roper, Simmons and Kennedy, show that the death penalty is now wobbling on its last

Eighth Amendment leg. Mr. Cleveland therefore asks this Court to enter an order

declaring that the federal death penalty, in and of itself, constitutes a legally prohibited

cruel and unusual punishment prohibited by both the Fifth and Eighth Amendments, and

striking the government’s Notice of Intention to Seek Death.

                                      Respectfully submitted,


                                      /s/ Theresa M. Duncan_____
                                      Theresa M. Duncan
                                      Duncan Earnest, LLC
                                      515 Granite NW
                                      Albuquerque, NM 87102
                                      505-842-5196
                                      teri@duncanearnest.com

                                      Donald F. Kochersberger III
                                      BUSINESS LAW SOUTHWEST LLC
                                      320 Gold Ave. SW, Suite 610
                                      Albuquerque, New Mexico 87102-3299
                                      (505) 848-8581 (Voice)
                                      (505) 848-8593 (Facsimile)
                                      Donald@BusinessLawSW.com (E-Mail)

                                      Attorneys for Kirby Cleveland


                                             33
     Case 1:17-cr-00965-JB Document 81 Filed 10/01/18 Page 34 of 34



                         CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 1st day of October 2018, I filed the

foregoing pleading electronically through the CM/ECF system, which caused

counsel for Plaintiff and Defendants to be served by electronic means, as more

fully reflected on the Notice of Electronic Filing.


                                    /s/ Theresa M. Duncan
                                    Theresa M. Duncan




                                          34
